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               https://falonilaw.com/practice-areas/creditors-rights-collections/




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                                                                            CREDITORS RIGHTS
                                                                            AND COLLECTIONS
                                                                            COMITTED TO COMPLIANCE,
                                                                            COLLECTION AND LITIGATION
                                                                            Faloni Law Group, LLC has been recognized as one of
                                                                            the nation's leaders in creditor's rights and collection
                                                                            litigation. The firm has a strong reputation for getting
                                                                            proven results while upholding the highest levels of
                                                                            compliance and integrity. Our firm has developed and
                                                                            invested in compliance to meet the demands of the now
                                                                            heavily regulated collections industry. We are certified in
                                                                            the latest SOC standards for technology and has
                                                                            developed policies and procedures for all our collection,
                                                                            litigation and financial processes. Our focus on
                                                                            compliance significantly reduces risks for our clients and
                                                                            creates an environment where all parties are treated
                                                                            fairly. All of our employees are trained in all aspects of
                                                                            Federal and State law regulations such as the (FDCPA)
                                                                            Fair Debt Collection Practices Act, (FCRB) Fair Credit
                                                                            Reporting Act, (CFPB) Consumer Financial Protection
                                                                            Board, (TCPA) Telephone Collection Practices Act,
                                                                            (GLBA) Gramm Leach Bliley Act and (HIPAA) Health
                                                                            Insurance Portability and Accountability Act.




From its offices throughout New Jersey, Pennsylvania and in New York the practice aggressively litigates a wide array of debt collection
matters. We also work together with consumers going through hardships to work out manageable payment plans so both our clients and
consumers avoid litigation whenever possible.

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For more than 40 years, our goal has been to deliver exceptional results while maintaining the highest levels of compliance integrity and
professionalism. Our law offices have never incurred civil or criminal penalties in connection with our debt collection activities.

Exceptional Debt Collection Legal Services for More Than 40 Years

We help you in a number of ways that protect your rights: in post-judgment execution of assets, wage execution or garnishment, and
assets execution for personal property, banking and automobiles. Our debt collection litigation attorneys protect your rights in matters
such as:

  •Retail and commercial credit card collections
  •Auto repossession and deficiencies
  •Real estate foreclosure and mortgage deficiency
  •Hospital & Medical debt collections
  •Bad checks collections

We have the legal knowledge, manpower and command of technology that can find the money you are owed. Our law firm uses
innovative techniques such as voice broadcasting, skip tracing and the latest collection software to uncover assets that will help resolve
your case.

Contact Our New Jersey Lawyers

The Faloni Law Group, LLC offers five New Jersey locations to serve you - in Fairfield, Princeton, Toms River, Newton and Mount
Laurel - in addition to office locations in New York and Pennsylvania. Contact us from wherever you are in the state, across the country
or around the world. For detailed, aggressive personal attention to collections issues that gets results, call 866-456-9668 or e-mail us. Your
initial consultation with us is free of charge. We respond promptly to all messages.




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